                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                               Charlotte DIVISION
                        DOCKET NO. 3:20-CV-00374-FDW-DSC


 PHILADELPHIA INDEMNITY                      )
 INSURANCE COMPANY,                          )
                                             )
                 Plaintiff,                  )
                                             )
        vs.                                  )                    ORDER
                                             )
 RONIN STAFFING LLC et al.,                  )
                                             )
                 Defendants.                 )

       THIS MATTER is before the Court, sua sponte, as to the trial setting in this matter, which

is currently scheduled to begin with docket call on November 1, 2021. Because of the Court’s

crowded docket, and the need to prioritize criminal trials, the Court hereby CONTINUES trial in

this matter to the mixed term beginning January 3, 2022. Accordingly, the parties’ Pretrial

Submissions will be due December 13, 2021, and the Final Pretrial Conference for this matter will

be held after docket call on January 3, 2022.

       IT IS SO ORDERED.




                                Signed: October 14, 2021




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